                                                     Representation Of Printed Document
                                                  Mortgage
  Case: 1:19-cv-04138 Document #: 34-1 Filed: 12/06/19 PageStatement
                                                             1 of 4 PageID #:118
                                                   P.O. Box 619063                                      Statement Date 03/11/2019
                                                   Dallas, TX 75261-9063
                                                                                     If you have questions or concerns about your statement,
                                                                                     please contact us at 1-800-495-7166 between the hours of 8
                                                                                     a.m. - 9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m.
                                                                                     CT Friday, and 10 a.m. - 4 p.m. CT Saturday.
                                                                                     www.fayservicing.com
             TINA M PARENTE
             5852 W 76TH ST                                                          Account Number
             BURBANK IL 60459-3205
                                                                                     Payment Due Date                                           04/01/2019
                                                                                     Amount Due                                                $64,571.30
                                                                                         Property Address:

                                                                                         5852 W 76TH ST
                                                                                         BURBANK IL 60459



 Bankruptcy Message                                                                  Explanation of Amount Due
 Our records show that either you are a debtor in                                    Principal                                                      $289.30
 bankruptcy or you discharged personal liability for the                             Interest                                                       $653.23
 mortgage loan in bankruptcy.                                                        Escrow (for Taxes and/or Insurance)                            $663.42
                                                                                     Regular Monthly Payment                                      $1,605.95
 We are sending this statement to you for informational and                          Overdue Payments                                            $61,026.10
 compliance purposes only. It is not an attempt to collect a                         Total Fees Charges                                           $1,939.25
 debt against you.                                                                   Suspense (Unapplied Funds)                                      ($0.00)
 If you want to stop receiving a mortgage statement, you must                        Total Amount Due                                            $64,571.30
 submit a written request to the following address:
                  Fay Servicing, LLC
                  901 S. 2nd Street, Suite 201
                  Springfield, IL 62704

 If you later want to resume receiving a mortgage statement,                         Account Information
 you must submit a written request to the same address.                              Outstanding Principal                                       $300,934.79
 Please be aware that we must comply with any order entered                          Current Interest Rate                                          3.25000%
 by the court in your bankruptcy case that requires us to cease                      Escrow Balance                                              ($26,715.76)
 providing a mortgage statement.
 Past Payments Breakdown
                                            Since Last Statement Paid Year to Date
 Principal                                                 $0.00          $0.00
 Interest                                                  $0.00          $0.00      **Account History**
 Escrow                                                    $0.00          $0.00      Recent Account History
 Suspense                                                  $0.00          $0.00      •     Payment Due: 03/01/19 Unpaid balance of $1,605.95
 Fees                                                      $0.00          $0.00      •     Payment Due: 02/01/19 Unpaid balance of $1,605.95
                                                                                     •     Payment Due: 01/01/19 Unpaid balance of $1,605.95
 Total                                                     $0.00          $0.00
                                                                                     •     Payment Due: 12/01/18 Unpaid balance of $1,605.95
 Important Messages                                                                  •     Payment Due: 11/01/18 Unpaid balance of $1,605.95
                                                                                     •     Payment Due: 10/01/18 Unpaid balance of $1,605.95

                                                                                     •     Total:$64,571.30 unpaid amount that, if paid, would
                                                                                           bring your loan current.

                                                                                     If You Are Experiencing Financial Difficulty: See back for
                                                                                     information about mortgage counseling or assistance.




TINA M PARENTE


                                                                                                                Payment Amount
                                                                                            Account Number
                                                                                            Due By 04/01/2019:                                   $64,571.30
                                  PO Box 88009
                                  Chicago, IL 60680-1009                                    Additional Principal                     $
    DTTAFFTFTTAFDTTDATTAFTFFTDAADDTDDAFTDFDTDTAFFADFTAFDTDDTFDATTTDFD                       Additional Escrow                        $

                                                                                            Total Amount Enclosed                    $




EXHIBIT A
                                                                        Internet Reprint
  Case: 1:19-cv-04138 Document #: 34-1 Filed: 12/06/19 Page 2 of 4 PageID #:118

      Payments by Phone
        (800) 495-7166

      Payments via Overnight or Express Mail                                                 Correspondence
      Fay Servicing, LLC                                                                     Fay Servicing, LLC
      Attn: Payment Processing                                                               P.O. Box 809441
      3000 Kellway Drive, Ste. 150                                                           Chicago, IL 60680-9441
      Carrollton, TX 75006
      Payments cannot be made in person at this location
          Remember to include your name and account number on all payment remittances and written correspondence.

      Payments by Phone
      Fay Servicing, LLC's Pay-by-phone option makes it possible to make your loan payment by calling the toll-free number
      1-800-495-7166 between the hours of 8 a.m. – 9 p.m. CT Monday through Thursday, 8:30 a.m. – 5 p.m. CT Friday, and
      10 a.m. – 4 p.m. CT Saturday. You can call as often as you like, there's no charge for the call or transaction.

      MoneyGram Express Payment
      MoneyGram ExpressPayment ensures same-day delivery of your payment to Fay Servicing, LLC. Visit your local
      MoneyGram Agent. Call 1-800-926-9400 to locate the one nearest you. Complete the ExpressPayment form, providing
      your name and Fay Servicing, LLC loan number. The Fay Servicing, LLC Receive Code is 15055. All ExpressPayment
      transactions require cash. The agent will charge a fee for this service. Fay Servicing, LLC does not charge a fee for this
      service.
 Activity Since Your Last Statement (02/12/2019 - 03/11/2019)
         Date             Description                                      Charges                                  Payments
       02/12/19           ATTORNEY ADVANCES                                 $200.00
       02/12/19           ATTORNEY ADVANCES                                  $50.00

 HUD-approved housing counselors are available at http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm or by calling 1-800-569-4287.




 Complaints: As of July 1, 2017, Fay Servicing, LLC will no longer accept Requests for Information or Notices of Error
 by email. All Requests for Information and Notices of Error must be submitted to:
     Fay Servicing, LLC
     901 S. 2nd Street, Suite 201
     Springfield, IL 62704

 Fay Servicing, LLC is a debt collector, and information you provide to us will be used for that purpose. To the extent
 your original obligation was discharged, or is subject to an automatic stay under the United States Bankruptcy Code,
 this is being provided for informational purposes only and does not constitute an attempt to collect a debt or impose
 personal liability. Our office hours are Monday-Thursday 8 a.m. - 9 p.m. Friday 8:30 a.m. - 5 p.m., and Saturday 10
 a.m. - 4 p.m. CST. Call today: 1-800-495-7166. NMLS ID#88244. NC residents: Fay Servicing, LLC, NC Permit Number
 112302, 440 S. LaSalle St., Suite 2000, Chicago, IL 60605-6011.




EXHIBIT A
                                                     Representation Of Printed Document
                                                  Mortgage
  Case: 1:19-cv-04138 Document #: 34-1 Filed: 12/06/19 PageStatement
                                                             3 of 4 PageID #:118
                                                   P.O. Box 619063                                      Statement Date 04/10/2019
                                                   Dallas, TX 75261-9063
                                                                                     If you have questions or concerns about your statement,
                                                                                     please contact us at 1-800-495-7166 between the hours of 8
                                                                                     a.m. - 9 p.m. CT Monday through Thursday, 8:30 a.m. - 5 p.m.
                                                                                     CT Friday, and 10 a.m. - 4 p.m. CT Saturday.
                                                                                     www.fayservicing.com
             TINA M PARENTE
             5852 W 76TH ST                                                          Account Number
             BURBANK IL 60459-3205
                                                                                     Payment Due Date                                           05/01/2019
                                                                                     Amount Due                                                $67,809.46
                                                                                         Property Address:

                                                                                         5852 W 76TH ST
                                                                                         BURBANK IL 60459



 Bankruptcy Message                                                                  Explanation of Amount Due
 Our records show that either you are a debtor in                                    Principal                                                      $290.09
 bankruptcy or you discharged personal liability for the                             Interest                                                       $652.44
 mortgage loan in bankruptcy.                                                        Escrow (for Taxes and/or Insurance)                            $974.38
                                                                                     Regular Monthly Payment                                      $1,916.91
 We are sending this statement to you for informational and                          Overdue Payments                                            $62,632.05
 compliance purposes only. It is not an attempt to collect a                         Total Fees Charges                                           $3,260.50
 debt against you.                                                                   Suspense (Unapplied Funds)                                      ($0.00)
 If you want to stop receiving a mortgage statement, you must                        Total Amount Due                                            $67,809.46
 submit a written request to the following address:
                  Fay Servicing, LLC
                  901 S. 2nd Street, Suite 201
                  Springfield, IL 62704

 If you later want to resume receiving a mortgage statement,                         Account Information
 you must submit a written request to the same address.                              Outstanding Principal                                       $300,934.79
 Please be aware that we must comply with any order entered                          Current Interest Rate                                          3.25000%
 by the court in your bankruptcy case that requires us to cease                      Escrow Balance                                              ($27,908.72)
 providing a mortgage statement.
 Past Payments Breakdown
                                            Since Last Statement Paid Year to Date
 Principal                                                 $0.00          $0.00
 Interest                                                  $0.00          $0.00      **Account History**
 Escrow                                                    $0.00          $0.00      Recent Account History
 Suspense                                                  $0.00          $0.00      •     Payment Due: 04/01/19 Unpaid balance of $1,605.95
 Fees                                                      $0.00          $0.00      •     Payment Due: 03/01/19 Unpaid balance of $1,605.95
                                                                                     •     Payment Due: 02/01/19 Unpaid balance of $1,605.95
 Total                                                     $0.00          $0.00
                                                                                     •     Payment Due: 01/01/19 Unpaid balance of $1,605.95
 Important Messages                                                                  •     Payment Due: 12/01/18 Unpaid balance of $1,605.95
                                                                                     •     Payment Due: 11/01/18 Unpaid balance of $1,605.95

                                                                                     •     Total:$67,809.46 unpaid amount that, if paid, would
                                                                                           bring your loan current.

                                                                                     If You Are Experiencing Financial Difficulty: See back for
                                                                                     information about mortgage counseling or assistance.




TINA M PARENTE


                                                                                                                Payment Amount
                                                                                            Account Number
                                                                                            Due By 05/01/2019:                                   $67,809.46
                                  PO Box 88009
                                  Chicago, IL 60680-1009                                    Additional Principal                     $
    DFTTAAADDATFTATDFDTAAAFDTAATDFDFAAFAFAFDTDTFDTDADTFFFFDTADTDTAFAD                       Additional Escrow                        $

                                                                                            Total Amount Enclosed                    $




EXHIBIT A
                                                                        Internet Reprint
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      Payments by Phone
        (800) 495-7166

      Payments via Overnight or Express Mail                                                 Correspondence
      Fay Servicing, LLC                                                                     Fay Servicing, LLC
      Attn: Payment Processing                                                               P.O. Box 809441
      3000 Kellway Drive, Ste. 150                                                           Chicago, IL 60680-9441
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      MoneyGram ExpressPayment ensures same-day delivery of your payment to Fay Servicing, LLC. Visit your local
      MoneyGram Agent. Call 1-800-926-9400 to locate the one nearest you. Complete the ExpressPayment form, providing
      your name and Fay Servicing, LLC loan number. The Fay Servicing, LLC Receive Code is 15055. All ExpressPayment
      transactions require cash. The agent will charge a fee for this service. Fay Servicing, LLC does not charge a fee for this
      service.
 Activity Since Your Last Statement (03/12/2019 - 04/10/2019)
         Date             Description                                      Charges                                  Payments
       03/13/19           PROPERTY PRESERVATIO                               $14.25
       03/15/19           ATTORNEY ADVANCES                                 $250.00
       03/15/19           FORECL/BNKR EXPENSES                              $200.00
       03/15/19           FORECL/BNKR EXPENSES                              $200.00
       04/02/19           FORECL/BNKR EXPENSES                              $200.00
       04/02/19           FORECL/BNKR EXPENSES                              $457.00
       04/02/19           HAZARD INS PAID                                                                           -$1,192.96

 HUD-approved housing counselors are available at http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm or by calling 1-800-569-4287.



 Complaints: As of July 1, 2017, Fay Servicing, LLC will no longer accept Requests for Information or Notices of Error
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     901 S. 2nd Street, Suite 201
     Springfield, IL 62704

 Fay Servicing, LLC is a debt collector, and information you provide to us will be used for that purpose. To the extent
 your original obligation was discharged, or is subject to an automatic stay under the United States Bankruptcy Code,
 this is being provided for informational purposes only and does not constitute an attempt to collect a debt or impose
 personal liability. Our office hours are Monday-Thursday 8 a.m. - 9 p.m. Friday 8:30 a.m. - 5 p.m., and Saturday 10
 a.m. - 4 p.m. CST. Call today: 1-800-495-7166. NMLS ID#88244. NC residents: Fay Servicing, LLC, NC Permit Number
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EXHIBIT A
